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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                            Case No. 16-cr-00189-JSC-2
                                                         Plaintiff,
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                                                                                              ORDER GRANTING MOTION FOR
                                                  v.                                          EARLY TERMINATION OF
                                   9
                                                                                              SUPERVISED RELEASE
                                  10     VENKAT GUNTIPALLY,
                                                                                              Re: Dkt. No. 441
                                                         Defendant.
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                                  12
Northern District of California
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                                  13          Venkat Guntipally pled guilty to conspiracy to commit visa fraud, use of false documents,

                                  14   mail fraud, obstruction of justice and witness tampering. In June 2018 he was sentenced to 30

                                  15   months’ imprisonment, to be followed by three years’ supervised release. Pending before the

                                  16   Court is Mr. Guntipally’s motion for early termination of his supervised release. Probation does

                                  17   not object to early termination, (Dkt. No. 448), but the government does, (Dkt. No. 449).

                                  18                                           LEGAL STANDARD

                                  19          A court may terminate supervised release “at any time after the expiration of one year of

                                  20   supervised release . . . if it is satisfied that such action is warranted by the conduct of the defendant

                                  21   released and the interest of justice,” after considering the specified Section 3553(a) factors. 18

                                  22   U.S.C. § 3583(e)(1). “The expansive phrases ‘conduct of the defendant’ and ‘interest of justice’”

                                  23   in Section 3583(e)(1) “make clear that a district court enjoys discretion to consider a wide range of

                                  24   circumstances when considering whether to grant early termination.” United States v. Emmett,

                                  25   749 F.3d 817, 819 (9th Cir. 2014). Early termination of supervised release does not require a

                                  26   showing of “exceptionally good behavior.” United States v. Ponce, 22 F.4th 1045, 1048 (9th Cir.

                                  27   2022). Nor does it require new or changed circumstances. Id. Instead, in deciding whether to

                                  28   grant a motion for early termination, a district court must consider the factors set forth in 18
                                   1   U.S.C. § 3553(a), including:

                                   2                   (1) the nature and circumstances of the offense and the history and
                                                       characteristics of the defendant; (2) to afford adequate deterrence to
                                   3                   criminal conduct; (3) to protect the public from further crimes of the
                                                       defendant; (4) to provide the defendant with needed educational or
                                   4                   vocational training, medical care, or other correctional treatment in
                                                       the most effective manner; (5) the kinds of sentence and the
                                   5                   sentencing range; (6) any pertinent policy statement [] issued by the
                                                       Sentencing Commission; (7) the need to avoid unwarranted sentence
                                   6                   disparities among defendants with similar records who have been
                                                       found guilty of similar conduct; and (8) the need to provide restitution
                                   7                   to any victims of the offense.
                                   8   18 U.S.C. §§ 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), (a)(7). Mr.

                                   9   Guntipally has been on supervised release for more than one year (since January 25, 2021), so he

                                  10   is eligible for early termination.

                                  11                                               DISCUSSION

                                  12           Prior to the current conviction, Mr. Guntipally did not have any criminal history.
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                                  13   According to the judgment, his criminal conduct ceased in 2014 and there is nothing in the docket

                                  14   or the government’s submission that suggests he has engaged in any criminal conduct since that

                                  15   time. Further, he was on pretrial release from October 2014 until he self-surrendered in June

                                  16   2019. The Court’s review of the docket does not reveal a single allegation of a violation of the

                                  17   conditions of his supervised release. His performance on supervised release following his release

                                  18   from prison has been without incident and he is fully employed. According to the Probation

                                  19   Office, Mr. Guntipally has a low risk of recidivism, and their research shows that given Mr.

                                  20   Guntipally’s circumstances, his performance on supervised release thus far, and the low level of

                                  21   supervision given to him, early termination of supervised release is appropriate. In addition, the

                                  22   Probation Office notes that Mr. Guntipally paid all of his monetary penalties and has been

                                  23   responsive to Probation Officer requests. Mr. Guntipally offers evidence that while incarcerated

                                  24   he took advantage of rehabilitative programs.

                                  25           The Court finds that Mr. Guntipally’s conduct and the interests of justice warrant early

                                  26   termination of his supervised release. His conduct shows that further supervised release is not

                                  27   needed for deterrence or protection of the public; nor is it required to receive rehabilitative

                                  28   services as none are needed. Given his 30-month sentence, felony conviction, and $500,000
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                                   1   penalty, an additional 20 months of supervised release is not required to acknowledge the

                                   2   seriousness of his crime. The government posits, without explanation, that early termination

                                   3   would lead to disparate sentences, but it does not identify any co-defendant who unsuccessfully

                                   4   moved for early termination of supervised release. Further, Mr. Guntipally explains that one

                                   5   reason he wishes to end his supervised release is so he can travel to India to visit with his elderly

                                   6   parents. This reason, too, shows that early termination is in the interests of justice.

                                   7                                              CONCLUSION

                                   8          The goal of supervised release is deterrence, public protection or rehabilitation. See United

                                   9   States v. LaCoste, 821 F.3d 1187, 1191 (9th Cir. 2016). The record establishes that further

                                  10   continuing Mr. Guntipally’s supervision is not required for the goal to be satisfied. The motion

                                  11   for early termination of supervised release is GRANTED.

                                  12          This Order disposes of Docket No. 441.
Northern District of California
 United States District Court




                                  13          IT IS SO ORDERED.

                                  14   Dated: April 12, 2022

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                                                                                                      JACQUELINE SCOTT CORLEY
                                  17                                                                  United States District Judge
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